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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-cr-80022-CANNON/REINHART


  UNITED STATES OF AMERICA,

  vs.

  DANIEL M. CARVER, et al.

                        Defendants.
                                         /

    GOVERNMENT’S FIRST RESPONSE TO THE STANDING DISCOVERY ORDERS

         On February 24, 2022, the grand jury returned an indictment in this matter charging ten

  defendants for their respective roles in health care fraud, kickback, and money laundering

  conspiracies. Since then, eight of the ten defendants have been arraigned and the Court has entered

  a Standing Discovery Order in each instance. See ECF Dkt. 50, 98, 101, 107, 125, 127, and 141.

         In response to these orders, the government hereby files this First Response to the Standing

  Discovery Orders, which complies with Local Rule 88.10 and Federal Rule of Criminal Procedure

  16, and is numbered to correspond with Local Rule 88.10.

         A.      1.     To the extent that they exist, the United States is currently producing all
                        known written and recorded statements made by Defendants in connection
                        with the instant matter to his/her attorney.

                 2.     To the extent they exist, the United States is currently producing reports of
                        law enforcement agents memorializing known oral statements made by
                        Defendants to law enforcement to each Defendant’s counsel.

                 3.     The Defendants did not testify before a grand jury in connection with the
                        charged offense.

                 4.     The United States is currently producing NCIC records relating to
                        Defendants to counsel.
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              5.       The United States is producing, in electronic format, certain books, papers,
                       documents, photographs, tangible objects, or copies or portions thereof that
                       are material to the preparation of the Defendants’ defense, or which the
                       United States intends to use as evidence at trial to prove its case in chief, or
                       which were obtained from, or belong to, the Defendants.

                       Books, papers, documents, photographs, tangible objects, buildings or
                       places which the government intends to use as evidence at trial to prove its
                       case in chief, including covered information—such as patient files and
                       billing data—or items that were obtained or belonging to the Defendants,
                       will be produced, but will not be filed with the Court. A large portion of
                       these items will be produced to all counsel on an encrypted hard
                       drive/thumb drive, CD or DVD pursuant to the Protective Order in this case.
                       With respect to all other books, papers, documents, photographs, tangible
                       objects, or copies or portions thereof, which are material to the preparation
                       of the Defendants’ defenses, or which the United States intends to use as
                       evidence at trial to prove its case in chief, or which were obtained from or
                       belonging to the Defendants, these materials will be made available by the
                       government and can be inspected at a mutually convenient time at a facility
                       operated by the United States Attorney’s Office for the Southern District of
                       Florida in Miramar, Florida (the “Miramar Facility”). Please contact the
                       undersigned and/or HHS-OIG Special Agent Tony Senat to arrange a date
                       and time for review that is convenient for both parties; his contact
                       information will be made available under separate cover.

                       The items mentioned in this discovery response are not necessarily all the
                       books, papers, documents, etc., that the government may intend to introduce
                       at trial.

              The discovery that the government will produce or make available for inspection
              includes, but is not limited to, the following list. Please note, however, that as to
              each category, privilege holders have asserted privilege over certain records
              contained within these materials, which have been withheld from the prosecution
              team. A member of the filter team from the Fraud Section’s Special Matters Unit
              will be in contact with defense counsel to discuss the production, if any, of these
              documents.

                   •   Digital files of scanned documents (including patient records) from the
                       offices at 1200 North Federal Highway, Boca Raton, Florida, seized and
                       searched pursuant to a search warrant executed on or about July 14, 2021.
                       The records are digitized and will be produced in electronic form.

                   •   Approximately 37,000 files of digital evidence seized from a laboratory
                       information system company, pursuant to a search warrant executed on or
                       about December 3, 2021. Such digital evidence may contain confidential
                       patient information and therefore constitutes “covered information” under


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                       the Protective Order. These records are digitized and will be produced in
                       electronic form.

                   •   Approximately 260,000 documents containing emails and other documents
                       obtained from obtained pursuant to search warrants, grand jury subpoena,
                       and consent searches. These records are digitized and will be produced in
                       electronic form.

                   •   Billing data, enrollment records, and other records from Medicare and its
                       contractors, which includes covered information and personal identifying
                       information of patients subject to the Protective Order.

                   •   Hundreds of redacted interview reports and memos of witnesses, subjects,
                       and employees.

                   •   Interview memos and recorded statements of the Defendants.

                   •   Tens of thousands of pages of bank records obtained from dozens of
                       financial institutions.

                   •   Voluminous banking and financial records, which are digitized and will be
                       produced to counsel.

              6.       There were no physical or mental examinations nor scientific tests or
                       experiments made in connection with this case.

              7.       Additionally, there are approximately 620,000 documents deriving from
                       email search warrant returns as well as digital evidence from devices seized
                       during the July, 14, 2021 search of 1200 North Federal Highway, Boca
                       Raton, Florida, which remain subject to filter review. Once these items are
                       reviewed subject to a filter protocol, the filter team will release these items
                       to the case team and defense counsel.

        B.             DEMAND FOR RECIPROCAL DISCOVERY: The United States
                       requests the disclosure and production of materials enumerated as items 1,
                       2, and 3 of section B of Local Rule 88.10. This request is made pursuant to
                       Rule 16(b) of the Federal Rules of Criminal Procedure.

        C.             The United States will disclose any information or material which may be
                       favorable on the issues of guilt or punishment within the scope of Brady v.
                       Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                       (1976).

        D.             The United States shall disclose to the defense the existence and substance
                       of any payments, promises of immunity, leniency, preferential treatment, or
                       other inducements made to prospective United States witnesses, within the


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                    scope of Giglio v. United States, 406 U.S. 150 (1972) and Napue v. Illinois,
                    360 U.S. 264 (1959).

        E.          The United States will disclose any prior convictions of any alleged co-
                    conspirator, accomplice or informant who will testify for the United States
                    at trial.

        F.          The United States will make available to the defense for inspection at a
                    mutually convenient time at the facilities identified above any photo spread
                    or similar identification proceedings in connection with the charged
                    offenses.

        G.          The United States has advised its agents and officers involved in this case
                    to preserve all rough notes.

        H.          The United States shall timely advise the defense of its intention, if any, to
                    introduce extrinsic act evidence pursuant to Rule 404(b), Federal Rules of
                    Evidence. The defense is hereby on notice that all evidence made available
                    for inspection or statements disclosed herein or in any future discovery
                    letter, may be offered in the trial of this cause, under Rule 404(b) or
                    otherwise (including the inextricably-intertwined doctrine).

        I.          None of the defendants are an aggrieved person, as defined in Title 18,
                    United States Code, Section 2510(11), of any electronic surveillance.

        J.          The United States has, or is in the process of having, transcribed the grand
                    jury testimony of all witnesses who will testify for the United States at trial.

        K.          No contraband of the type described in Paragraph K of Local Rule 88.10 is
                    involved in this indictment.

        L.          The United States does not know of any automobile, vessel, or aircraft
                    allegedly used in the commission of this offense that is in the United States’
                    possession.

        M.          The United States is unaware of any latent fingerprints or palm prints which
                    have been identified by a United States expert as those of the Defendant.

        N.          The United States is hereby disclosing that it may offer the testimony of
                    expert and/or lay witnesses who will provide technical testimony regarding
                    the functioning of the Medicare Program, Medicare billing procedures and
                    rules, Medicare auditing procedures and rules, Medicare cost reporting, and
                    rules relating to overpayment of claims by Medicare. To the extent that
                    testimony regarding the functioning of the Medicare Program can be
                    construed to constitute expert testimony, the United States hereby provides
                    notice that it may call a Medicare witness to testify regarding this subject



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                         matter. The United States is also hereby disclosing that it may offer the
                         testimony of expert and/or lay witnesses who will provide technical
                         testimony regarding the medical necessity of durable medical equipment or
                         certain genetic tests for which laboratories submitted claims to Medicare,
                         and testimony of expert and/or lay witnesses who will provide technical
                         testimony regarding telemedicine.

                         The United States requests the disclosure of any experts the defense intends
                         to call at trial, as well as such experts’ qualifications and any proposed
                         opinions to be offered at trial.

         O.              The United States will make every possible effort in good faith to stipulate
                         to all facts or points of law the truth and existence of which is not contested
                         and the early resolution of which will expedite trial.

         P.              At the discovery conference, the United States will seek written stipulations
                         to agreed facts in this case, to be signed by the defendants and their counsel.

         Q.              The United States will comport with the schedule of discovery as outlined
                         in Local Rule 88.10.

         The United States is aware of its continuing duty to disclose such newly discovered

  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules

  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to ensure a fair trial.

         In addition to the request made above by the United States pursuant to Section B of Local

  Rule 88.10 and Rule 16(b) of the Federal Rules of Criminal Procedure, in accordance with Rule

  12.1 of the Federal Rules of Criminal Procedure, the United States hereby demands Notice of Alibi

  defense; the approximate time, date, and place of the offense is listed in the indictment.




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  Dated: March 30, 2022              Respectfully submitted,

                                     JUAN ANTONIO GONZALEZ
                                     UNITED STATES ATTORNEY
                                     SOUTHERN DISTRICT OF FLORIDA

                                     JOSEPH BEEMSTERBOER, CHIEF
                                     CRIMINAL DIVISION, FRAUD SECTION
                                     U.S. DEPARTMENT OF JUSTICE


                               By:   /s/ Patrick J. Queenan
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                                CERTIFICATE OF SERVICE


         I hereby certify that on March 29, 2022, I served and filed the foregoing document with

  the Clerk of the Court via CM/ECF.


                                             By:    /s/ Patrick J. Queenan
                                                    Patrick J. Queenan
                                                    Trial Attorney
                                                    U.S. Department of Justice




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